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October 19, 2020

VIA E-MAIL
Hon. Laura Taylor Swain                                             MEMO ENDORSED
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007

        Re:      Off-White LLC v. Beijing Yinyu Trading Co., Ltd., Case No. 20-cv-7894
                 Request to Unseal

Dear Judge Swain,

        We represent Plaintiff Off-White LLC (“Plaintiff”), in the above-referenced, matter.1 We are
writing to inform the Court that as of today, all Third Party Service Providers and Financial Institutions
have complied with the Temporary Restraining Order entered in this action, accordingly, Plaintiff
respectfully requests that this action be unsealed.

        We thank the Court for its time and attention to this matter.


                                                            Respectfully submitted,

    The Clerk of Court is respectfully                      EPSTEIN DRANGEL LLP
    directed to unseal the above-
    captioned action and all filings                        BY:_/s/Danielle S. Yamali_____
    therein.                                                Danielle S. Yamali (DY 4228)
    SO ORDERED.                                             dfutterman@ipcounselors.com
    10/19/2020                                              60 East 42nd Street, Suite 2520
    /s/ Laura Taylor Swain, USDJ                            New York, NY 10165
                                                            Telephone: (212) 292-5390
                                                            Facsimile: (212) 292-5391
                                                            Attorneys for Plaintiff




1
  Where a defined term is referenced herein but not defined, it should be understood as it is defined in the Glossary in
Plaintiff’s Complaint or Application.
